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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                                     CASE:
  JUAN CARLOS GIL,

              Plaintiff,
  v.

  FIGUEME, INC. and MIGAR
  CORPORATION,

          Defendants.
  ______________________________________/

                                                COMPLAINT

         Plaintiff, JUAN CARLOS GIL, individually and on behalf of all other similarly situated

  mobility-impaired individuals (hereinafter “Plaintiff”), sues FIGUEME, INC. and MIGAR

  CORPORATION (hereinafter “Defendants”), and as grounds alleges:

                                 JURISDICTION, PARTIES. AND VENUE

         1.         This is an action for injunctive relief, a declaration of rights, attorneys' fees,

  litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

  Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202.

         2.         The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

  § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

         3.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and 2202,

  and may render declaratory judgment on the existence or nonexistence of any right under 42

  U.S.C. § 12181, et seq.

         4.         Plaintiff, JUAN CARLOS GIL, is an individual over eighteen years of age, with a

  residence in Miami-Dade County, Florida, and is otherwise sui juris.

         5.         At     all   times   material,   Defendants,   FIGUEME,     INC.    and   MIGAR
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  CORPORATION, owned and/or operated a place of public accommodation located at 10700 SW

  24th Street Miami, Florida 33175 (hereinafter the “Commercial Property”) and conducted a

  substantial amount of business in that place of public accommodation in Miami-Dade County,

  Florida.

         6.      At all times material, Defendant, FIGUEME, INC., was and is a corporation,

  organized under the laws of the State of Florida, with its principal place of business in Miami,

  Florida.

         7.      At all times material, Defendant, FIGUEME, INC., owned and operated a

  commercial restaurant at 10700 SW 24th Street Miami, Florida 33175 (hereinafter the

  “Commercial Property”) and conducted a substantial amount of business in that place of public

  accommodation in Miami-Dade County, Florida.

         8.      At all times material, Defendant, MIGAR CORPORATION, was and is a

  corporation, organized under the laws of the State of Florida, with its principal place of business

  in Miami, Florida.

         9.      At all times material, Defendant, MIGAR CORPORATION, leased and operated

  a commercial restaurant at 10700 SW 24th Street Miami, Florida 33175 (hereinafter the

  “Commercial Property”) and conducted a substantial amount of business in that place of public

  accommodation in Miami-Dade County, Florida. Defendant, MIGAR CORPORATION, holds

  itself out to the public as “Luis Galindo Latin American Restaurant #2”.

         10.     Venue is properly located in the Southern District of Florida because Defendants’

  Commercial Property is located in Miami-Dade County, Florida, Defendants regularly conduct

  business within Miami-Dade County, Florida, and because a substantial part(s) of the events or


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  omissions giving rise to these claims occurred in Miami-Dade County, Florida.

                                    FACTUAL ALLEGATIONS

         11.     Although over thirty (30) years have passed since the effective date of Title III of

  the ADA, Defendants have yet to make its facilities accessible to individuals with disabilities.

         12.     Congress provided commercial businesses one and a half years to implement the

  Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the extensive

  publicity the ADA has received since 1990, Defendants continue to discriminate against people

  who are disabled in ways that block them from access and use of Defendants’ businesses and

  properties.

         13.     The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

  requires landlords and tenants to be liable for compliance

         14.     Plaintiff, JUAN CARLOS GIL, is an individual with disabilities as defined by and

  pursuant to the ADA. Plaintiff, JUAN CARLOS GIL, is substantially limited in major life

  activities due to his impairment and requires the use of a wheelchair to ambulate.

         15.     Defendants, FIGUEME, INC., owns, operates and/or oversees the Commercial

  Property, its general parking lot and parking spots.

         16.     The subject Commercial Property is open to the public and is located in Miami,

  Miami-Dade County, Florida.

         17.     The individual Plaintiff visits the Commercial Property and businesses located

  within the Commercial Property, regularly, to include visits to the Commercial Property and

  businesses located within the Commercial Property on or about August 25, 2021 and encountered

  multiple violations of the ADA that directly affected his ability to use and enjoy the Commercial


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  Property and businesses located therein. He often visits the Commercial Property and businesses

  located within the Commercial Property in order to avail himself of the goods and services offered

  there, because it is approximately ten (10) miles from his residence, and is near other businesses

  and restaurants he frequents as a patron. He plans to return to the Commercial Property and the

  businesses located within the Commercial Property within two (2) months of the filing of this

  Complaint, specifically on or before April 18, 2022.

         18.     Plaintiff resides nearby in the same County and state as the Commercial Property

  and the businesses located within the Commercial Property, has regularly frequented the

  Defendants’ Commercial Property and the businesses located within the Commercial Property for

  the intended purposes because of the proximity to his residence and other businesses that he

  frequents as a patron, and intends to return to the Commercial Property and businesses located

  within the Commercial Property within two (2) months from the filing of this Complaint,

  specifically on or before April 18, 2022.

         19.     The Plaintiff found the Commercial Property, and the businesses located within the

  Commercial Property to be rife with ADA violations. The Plaintiff encountered architectural

  barriers at the Commercial Property, and businesses located within the Commercial Property and

  wishes to continue his patronage and use of each of the premises.

         20.     The Plaintiff has encountered architectural barriers that are in violation of the ADA

  at the subject Commercial Property, and businesses located within the Commercial Property. The

  barriers to access at the Commercial Property, and the businesses located within the Commercial

  Property have each denied or diminished Plaintiff’s ability to visit the Commercial Property, and

  businesses located within the Commercial Property, and have endangered his safety in violation


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  of the ADA. The barriers to access, which are set forth below, have likewise posed a risk of

  injury(ies), embarrassment, and discomfort to Plaintiff, JUAN CARLOS GIL, and others similarly

  situated.

           21.   Defendants, FIGUEME, INC. and MIGAR CORPORATION, own and/or operate

  a place of public accommodation as defined by the ADA and the regulations implementing the

  ADA, 28 CFR 36.201 (a) and 36.104.                Defendants, FIGUEME, INC. and MIGAR

  CORPORATION, are responsible for complying with the obligations of the ADA. The place of

  public accommodation that Defendants, FIGUEME, INC. and MIGAR CORPORATION, own

  and operate the Commercial Property Business located at 10700 SW 24th Street Miami, Florida

  33175.

           22.   Plaintiff, JUAN CARLOS GIL, has a realistic, credible, existing and continuing

  threat of discrimination from the Defendants’ non-compliance with the ADA with respect to the

  described Commercial Property and the businesses located within the Commercial Property,

  including but not necessarily limited to the allegations in Counts I and II of this Complaint.

  Plaintiff has reasonable grounds to believe that he will continue to be subjected to discrimination

  at the Commercial Property, and businesses located within the Commercial Property, in violation

  of the ADA. Plaintiff desires to visit the Commercial Property and businesses located therein, not

  only to avail himself of the goods and services available at the Commercial Property, and

  businesses located within the Commercial Property, but to assure himself that the Commercial

  Property and businesses located within the Commercial Property are in compliance with the ADA,

  so that he and others similarly situated will have full and equal enjoyment of the Commercial

  Property, and businesses located within the Commercial Property without fear of discrimination.


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          23.    Defendants, FIGUEME, INC. and MIGAR CORPORATION, as landlords and

  lessees of the Commercial Property Business, is responsible for all ADA violations listed in Counts

  I and II.

          24.    Plaintiff, JUAN CARLOS GIL, has a realistic, credible, existing and continuing

  threat of discrimination from the Defendants’ non-compliance with the ADA with respect to the

  described Commercial Property and businesses located within the Commercial Property, but not

  necessarily limited to the allegations in Counts I and II of this Complaint. Plaintiff has reasonable

  grounds to believe that he will continue to be subjected to discrimination at the Commercial

  Property, and businesses within the Commercial Property, in violation of the ADA. Plaintiff

  desires to visit the Commercial Property and businesses within the Commercial Property, not only

  to avail himself of the goods and services available at the Commercial Property and businesses

  located within the Commercial Property, but to assure himself that the Commercial Property, and

  businesses located within the Commercial Property are in compliance with the ADA, so that he

  and others similarly situated will have full and equal enjoyment of the Commercial Property, and

  businesses located within the Commercial Property without fear of discrimination.

          25.    Defendants have discriminated against the individual Plaintiff by denying him

  access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

  and/or accommodations of the Commercial Property, and businesses located within the

  Commercial Property, as prohibited by 42 U.S.C. § 12182 et seq.

                                     COUNT I – ADA VIOLATIONS
                                       AS TO FIGUEME, INC.
          26.    The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

  25 above as though fully set forth herein.

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             27.      Defendant, FIGUEME, INC., has discriminated, and continues to discriminate,

    against Plaintiff in violation of the ADA by failing, inter alia, to have accessible facilities by

    January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees and gross receipts

    of $500,000 or less). A list of the violations that Plaintiff encountered during his visit to the

    Commercial Property, include but are not limited to, the following:

         A. Parking Lot and Accessible Route

  i.     Accessible spaces lack clear and level aisles, they have slopes or cross slope of 3.5% (>2%)

         endangering Juan Carlos Gil when unloading and violating the ADAAG and ADAS Section

         502.

                                  COUNT II – ADA VIOLATIONS
                         AS TO FIGUEME, INC. and MIGAR CORPORATION

                28.   The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1

       through 25 above as though fully set forth herein.

             29.      Defendants, FIGUEME, INC. and MIGAR CORPORATION, have discriminated,

    and continues to discriminate, against Plaintiff in violation of the ADA by failing, inter alia, to

    have accessible facilities by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer

    employees and gross receipts of $500,000 or less).            A list of the violations that Plaintiff

    encountered during his visit to the Commercial Property, include but are not limited to, the

    following:

         A. Access to Goods and Services

  i.     Counters are in excess of 36”, preventing Juan Carlos Gil from using, in violation of Section

         7.2 (1) of the ADAAG.

 ii.     Table knee and toe space is , high (27” min) and deep (17” min), preventing use by Juan Carlos

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         Gil.

         B. Public Restrooms

  i.     Juan Carlos Gil unable to use Mirror due to bottom-reflecting surface 49" (40” AFF max),

         violating the ADAAG and 2010 ADAS.

 ii.     Stall door is not self-closing and/or lacks proper hardware, preventing use by Juan Carlos Gil,

         violating 2010 ADAS Sec. 604.

iii.     Grab bars 24" do not comply with the ADAAG and 2010 ADAS Sections 604 and 609,

         creating a hazardous condition for Juan Carlos Gil.

iv.      Grab bars 24" do not comply with the ADAAG and 2010 ADAS Sections 604 and 609,

         creating a hazardous condition for Juan Carlos Gil.

 v.      Mounted items 5.5" above grab bar (12” min), prevent use by Juan GIl, violating the ADAAG

         and 2010 ADAS.

                                     RELIEF SOUGHT AND THE BASIS

             30.     The discriminatory violations described in Counts I and II are not an exclusive list

      of the Defendants’ ADA violations. Plaintiff requests an inspection of the Defendants’ places of

      public accommodation in order to photograph and measure all of the discriminatory acts violating

      the ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff further

      requests to inspect any and all barriers to access that were concealed by virtue of the barriers'

      presence, which prevented Plaintiff, JUAN CARLOS GIL, from further ingress, use, and equal

      enjoyment of the Commercial Business and businesses located within the Commercial Property;

      Plaintiff requests to be physically present at such inspection in conjunction with Rule 34 and timely

      notice. A complete list of the Subject Premises’ ADA violations, and the remedial measures


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  necessary to remove same, will require an on-site inspection by Plaintiff’s representatives pursuant

  to Federal Rule of Civil Procedure 34.

         31.     The individual Plaintiff, and all other individuals similarly situated, have been

  denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

  privileges, benefits, programs and activities offered by Defendants, Defendants’ buildings,

  businesses and facilities; and has otherwise been discriminated against and damaged by the

  Defendants because of the Defendants’ ADA violations as set forth above. The individual

  Plaintiff, and all others similarly situated, will continue to suffer such discrimination, injury and

  damage without the immediate relief provided by the ADA as requested herein. In order to remedy

  this discriminatory situation, The Plaintiff requires an inspection of the Defendants’ place of public

  accommodation in order to determine all of the areas of non-compliance with the Americans with

  Disabilities Act.

         32.     Defendants have discriminated against the individual Plaintiff by denying him

  access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

  accommodations of its place of public accommodation or commercial facility, in violation of 42

  U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, Defendants continue to

  discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

  modifications in policies, practices or procedures, when such modifications are necessary to afford

  all offered goods, services, facilities, privileges, advantages or accommodations to individuals

  with disabilities; and by failing to take such efforts that may be necessary to ensure that no

  individual with a disability is excluded, denied services, segregated or otherwise treated differently

  than other individuals because of the absence of auxiliary aids and services.


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           33.     Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has a

   clear legal right to the relief sought. Further, injunctive relief will serve the public interest and all

   those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is entitled

   to recover attorneys’ fees, costs and litigation expenses from Defendants pursuant to 42 U.S.C. §

   12205 and 28 CFR 36.505.

           34.     A Defendant is required to remove the existing architectural barriers to the

   physically disabled when such removal is readily achievable for their place of public

   accommodation, The Plaintiff and all others similarly situated, will continue to suffer such

   discrimination, injury and damage without the immediate relief provided by the ADA as requested

   herein. In order to remedy this discriminatory situation, The Plaintiff requires an inspection of the

   Defendants’ place of public accommodation in order to determine all of the areas of non-

   compliance with the Americans with Disabilities Act.

           35.     Notice to Defendants is not required as a result of the Defendants’ failure to cure

   the violations by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees

   and gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff

   or waived by the Defendant.

           36.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

   Plaintiff Injunctive Relief, including an order to alter the property where Defendants operate their

   businesses, located at and/or within the commercial property located at 10700 SW 24th Street

   Miami, Florida 33175, the exterior areas, and the common exterior areas of the Commercial

   Property and businesses located within the Commercial Property, to make those facilities readily

   accessible and useable to The Plaintiff and all other mobility-impaired persons; or by closing the


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   facility until such time as the Defendants cure the violations of the ADA.

              WHEREFORE, The Plaintiff, JUAN CARLOS GIL, respectfully requests that this

   Honorable Court issue (i) a Declaratory Judgment determining Defendants at the commencement

   of the subject lawsuit were and are in violation of Title III of the Americans with Disabilities Act,

   42 U.S.C. § 12181 et seq.; (ii) Injunctive relief against Defendants including an order to make all

   readily achievable alterations to the facilities; or to make such facilities readily accessible to and

   usable by individuals with disabilities to the extent required by the ADA; and to require Defendants

   to make reasonable modifications in policies, practices or procedures, when such modifications

   are necessary to afford all offered goods, services, facilities, privileges, advantages or

   accommodations to individuals with disabilities; and by failing to take such steps that may be

   necessary to ensure that no individual with a disability is excluded, denied services, segregated or

   otherwise treated differently than other individuals because of the absence of auxiliary aids and

   services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §

   12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under

   Title III of the Americans with Disabilities Act.

   Dated: February 28, 2022                                GARCIA-MENOCAL & PEREZ, P.L.
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